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                             UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   MCALLEN DIVISION

LIZELLE GONZALEZ,                               §
     Plaintiff                                  §
                                                §
v.                                              §        CIVIL ACTION NO. 7:24-cv-00132
                                                §
GOCHA ALLEN RAMIREZ,                            §                     JURY DEMANDED
ALEXANDRIA LYNN BARRERA,                        §
STARR COUNTY, and                               §
RENE FUENTES,                                   §
     Defendants

                                PLAINTIFF’S AMENDED COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE DREW B. TIPTON:

        COMES NOW LIZELLE GONZALEZ, Plaintiff herein, by and through counsel, and

files this civil rights action against Gocha Allen Ramirez, Individually; Alexandria Lynn Barrera,

Individually; Rene Fuentes, Individually and in his official capacity; and Starr County and for such

causes of action alleges as follows:

                                                    I.

                                    NATURE OF THE ACTION

1.1 Plaintiff brings forth causes of action pursuant to 42 U.S.C § 1983 for violations of the United

     States Constitution and the laws of the United States as a result of the unfounded and unlawful

     indictment presented against Plaintiff by the Starr County District Attorney and his office, and

     the Starr County Sheriff and his office.




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                                                  II.

                                              PARTIES

2.1 Plaintiff Lizelle Gonzalez, a/k/a Lizelle Herrera, Plaintiff’s legal name at the time of her arrest,

    is a resident of Starr County, Texas.

2.2 Defendant Gocha Allen Ramirez is the elected District Attorney for Starr County, Texas.

    Ramirez is employed by the County of Starr as its elected district attorney who, at all times

    relevant to this action, was acting under the color of law and within the scope of his

    employment. Defendant Ramirez is the policy maker for the Starr County District Attorney’s

    Office. Defendant Ramirez is sued in his individual capacity. Defendant Ramirez may be

    served by serving his attorney via electronic mail.

2.3 Defendant Alexandria Lynn Barrera is employed as an Assistant District Attorney for Starr

    County, Texas, who, at all times relevant to this action, was acting under the color of law and

    within the scope of her employment. Defendant Barrera is sued in her individual capacity.

    Defendant Barrera may be served by serving her attorney via electronic mail.

2.4 Defendant Starr County, Texas, is a governmental unit existing under the laws of the State of

    Texas. Defendant Starr County may be served by serving its attorney via electronic mail.

 2.5 Defendant Rene Fuentes is the elected Sheriff of Starr County, Texas. Fuentes is employed by

     the County of Starr as its elected sheriff who, at all times relevant to this action, was acting

     under the color of law and within the scope of his employment. Defendant Fuentes is the

     policy maker for the Starr County Sheriff’s Office. Defendant Rene Fuentes is sued in his

     individual and official capacities and may be served with summons as follows:

                                   Starr County Sheriff’s Office
                                         102 E. 6th Street
                                   Rio Grande City, Texas 78582
                                   Or wherever he may be found



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                                                III.

                                 JURISDICTION AND VENUE

3.1 This action is brought pursuant to 42 U.S.C. § 1983. The Court has jurisdiction over this

    lawsuit pursuant to 28 U.S.C § 1331 (federal question) and 28 U.S.C. § 1343 (civil rights).

3.2 Venue is proper in this Court under 28 U.S.C. § 1391(b), as the Southern District of Texas -

    McAllen Division is the judicial district in which a substantial part of the events or omissions

    giving rise to the claims occurred.

                                                IV.

                                  FACTUAL ALLEGATIONS

4.1 On January 7, 2022, at approximately 7:18 p.m., Plaintiff Lizelle Gonzalez presented to the

    Starr County Memorial Hospital Emergency Department after using Cytotec Icetrogen 400

    mcg purportedly to induce an abortion. Plaintiff was treated by Dr. Rodolfo Lozano, M.D. and

    Norma Aguirre RN. After obstetrical examination revealed no contractions and positive fetal

    heart rate, Plaintiff was discharged home on January 8, 2022, at approximately 12:00 p.m. with

    a diagnosis of abdominal pain and instructions to follow up with Dr. Lozano on January 12,

    2022.

4.2 Shortly after discharge, at approximately 12:40 p.m. on January 8, 2022, Plaintiff was taken to

    Starr County Memorial Hospital via EMS with complaints of abdominal pain and vaginal

    bleeding. Examination in the emergency department by revealed no fetal cardiac activity and

    “incomplete spontaneous abortion.” Plaintiff was admitted to obstetrics for a repeat classical

    cesarean section by Dr. Luis Ramirez for the delivery of her stillborn child.

4.3 Based upon information and belief, during or after Plaintiff’s hospitalizations, employees,

    agents and/or representatives of Starr County Memorial Hospital, in violation of federal




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    privacy laws reported Plaintiff to the Starr County District Attorney’s Office and/or the Starr

    County Sheriff’s Office and shared protected medical records with such individuals/agencies.

4.4 Based upon information and belief, Sheriff Fuentes, and his office, in connection with and/or

    under the joint supervision of Defendants Barrera and Ramirez of the Starr County District

    Attorney’s Office, performed an investigation into the facts or circumstances surrounding the

    charge of Murder against Plaintiff, knowing that Plaintiff’s conduct was exempt from homicide

    as per Section 19.06 of the Texas Penal Code.

4.5 Per District Attorney’s Office policy and practice, assistant district attorney, Defendant

    Alexandria Lynn Barrera, consulted with Defendant Gocha Allen Ramirez regarding the

    investigation. Based upon information and belief, Defendant Alexandria Lynn Barrera

    discussed Plaintiff’s case with Defendant Gocha Allen Ramirez prior to the investigation and

    presentation of the case before the grand jury. Similarly, through its own policy-maker

    Defendant Gocha Allen Ramirez, the Starr County District Attorney’s Office had its own policy

    of initiating and performing its own investigations before involving the police or working in

    conjunction with the sheriff’s office during the investigation.

4.6 Based upon information and belief, the District Attorney’s Office and/or the Starr County

    Sheriff’s Office had agreements with the Starr County Memorial Hospital to report these types

    of cases and there are additional women whose protected health information was shared in

    furtherance of investigation and potential indictments.

4.7 Based upon information and belief, the Defendants Barrera and/or Ramirez were in direct

    communication with Starr County Sheriff’s Office investigators providing legal advice in

    coordinating and/or directing the “murder” investigation. Plaintiff was interviewed by Sheriff

    Fuentes’ investigators; however, she was neither charged nor arrested following their




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    investigation. Plaintiff’s arrest came after Sheriff Fuentes and/or his investigators received

    direction from Defendants Ramirez and Barrera.

4.8 Based upon information and belief, District Attorney Gocha Allen Ramirez and Assistant

    District Attorney Alexandria Lynn Barrera made misrepresentations of the facts and the law to

    a grand jury, recklessly and callously disregarding the rights of Plaintiff, and commenced a

    malicious prosecution.

4.9 On March 30, 2022, the charge of murder against Plaintiff was presented to the Grand Jury of

    Starr County, Texas by Defendants Ramirez and Barrera.

4.10    At all relevant times, Defendants Ramirez and Barrera, and Starr County Sheriff’s officers

    were aware that Section 19.06 of the Texas Penal Code exempted the death of an unborn child

    from the statute pertaining to murder “if the conduct charged is: (1) conduct committed by the

    mother of the unborn child.”

4.11    However, Defendants Ramirez, Barrera and Fuentes commenced and continued an

    unfounded investigation followed by providing the grand jury with false and misleading

    information and omissions in order to secure an Indictment against Plaintiff that “on or about

    the 7th day of January 2022, and before the presentment of this indictment, in Starr County,

    Texas, did then and there intentionally and knowingly cause the death of an individual J.A.H.

    by a self-induced abortion.”

4.12    Had Defendants Ramirez and Barrera and the Starr County Sheriff’s Office investigators

    been truthful, there would not have been any legal basis for the indictment and ensuing arrest.

    Upon information and belief, Defendants, conspired to, and did, investigate and present false

    information, recklessly misrepresenting facts in order to pursue a bogus murder charge against

    Plaintiff for acts clearly not criminal under the Texas Penal Code.




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4.13    Following the indictment, Plaintiff was arrested on April 7, 2022, by the Starr County

    Sheriff’s Office. On April 8, 2022, while incarcerated, Plaintiff was taken to Starr County

    Memorial Hospital after suffering anxiety induced dyspnea caused by the stress of

    unconstitutional murder indictment and false arrest. After spending three days in jail, Plaintiff

    was released on April 9, 2022, after the $500,000 bond was posted.

4.14    On April 11, 2022, Defendant Ramirez dismissed the unfounded charges against Plaintiff

    conceding in a news release “[i]n reviewing the applicable Texas law, it is clear that Ms.

    Herrera cannot and should not be prosecuted for the allegation against her.” Defendant Ramirez

    further stated that it was “clear that Ms. Herrera did not commit a criminal act under the laws

    of the State of Texas.”

4.15    The fallout from Defendants’ illegal and unconstitutional actions has forever changed the

    Plaintiff’s life. In statements issued by Defendant Ramirez, which were reported by the local,

    national, and international press, he conceded that “[a]lthough with this dismissal Ms. Herrera

    will not face prosecution for this incident, it is clear to me that the events leading up to this

    indictment have taken a toll on Ms. Herrera and her family.”

4.16    Plaintiff’s mugshot could be seen all over the news, through television, print and social

    media. Immediately following her arrest, a local social media site posted details of her arrest,

    initiating rumors within the close-knit community. Plaintiff was identified by name. Within

    hours national headlines read “Woman in Texas Charged with Murder in Connection with

    ‘Self-Induced Abortion.’” The unfounded charges against Plaintiff gained the attention of the

    Associated Press, were televised nationally, and can still be found through numerous news sites

    on the internet. Furthermore, because the charges stemmed from abortion – a hot button

    political agenda – the dismissal of the charges did not result in any less media attention. Rather,




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      the media attention was heightened after the dismissal due to the fact that the prosecution was

      frivolous.

4.17     On January 25, 2024, Defendant Ramirez agreed to an Agreed Judgement of Probated

      Suspension with the Investigatory Panel 12-2 District 12 Grievance Committee of the State

      Bar of Texas due to his violations of 8.01(a), 3.09(a), 5.01(a), and 5.01(b) of the Texas

      Disciplinary Rules of Professional Conduct for his knowing conduct in prosecuting Plaintiff

      for acts clearly not criminal under existing state law. Following the issuance of the probated

      suspension, Defendant Ramirez remains the Starr County District Attorney and continues to

      direct investigation and prosecution efforts for the 229th Judicial District, which includes Starr,

      Duval and Jim Hogg counties.

4.18     As a result of the Defendants’ unconstitutional actions, Plaintiff was subjected to the

      humiliation of a highly publicized indictment and arrest, which has permanently affected her

      standing in the community. But for Defendants’ conduct, Plaintiff would not have suffered

      these harms.

4.19     Lizelle Gonzalez files this lawsuit against Gocha Allen Ramirez, Alexandria Lynn Barrera,

      Rene Fuentes, and Starr County, for depriving Plaintiff of rights secured under the Constitution

      and Laws of the United States. She brings this case not only to vindicate her rights but also to

      hold accountable the government officials who violated them.

                                                    V.

                                    APPLICABLE AUTHORITY

5.1      The Fourth Amendment to the Constitution of the United States of America

provides:

         The right of the people to be secure in their persons, houses, papers, and effects,
         against unreasonable searches and seizures, shall not be violated, and no Warrants
         shall issue, but upon probable cause, supported by Oath or affirmation, and

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         particularly describing the place to be searched, and the persons or things to be
         seized.

5.2      The Fourteenth Amendment to the Constitution of the United States of America

provides, in pertinent part:


         All persons born or naturalized in the United States, and subject to the jurisdiction
         thereof, are citizens of the United States and of the State wherein they reside. No
         State shall make or enforce any law which shall abridge the privileges or
         immunities of citizens of the United States; nor shall any State deprive any person
         of life, liberty, or property, without due process of law; nor deny to any person
         within its jurisdiction the equal protection of the laws.

5.3      42 U.S. Code §1983 – Civil Action for Deprivation of Rights

         Every person who, under color of any statute, ordinance, regulation, custom,
         or usage, of any State or Territory or the District of Columbia, subjects, or
         causes to be subjected, any citizen of the United States or other person within
         the jurisdiction thereof to the deprivation of any rights, privileges, or
         immunities secured by the Constitution and laws, shall be liable to the party
         injured in an action at law, suit in equity, or other proper proceeding for
         redress, except that in any action brought against a judicial officer for an act
         or omission taken in such officer’s judicial capacity, injunctive relief shall
         not be granted unless a declaratory decree was violated or declaratory relief
         was unavailable. For the purposes of this section, any Act
         of Congress applicable exclusively to the District of Columbia shall be
         considered to be a statute of the District of Columbia.

5.4      Section 19.01 of the Texas Penal Code provided in pertinent part:

         (a)     A person commits criminal homicide if he intentionally, knowingly,
         recklessly, or with criminal negligence causes the death of an individual.
         (b)    Criminal homicide is murder, capital murder, manslaughter, or criminally
         negligent homicide.

5.5      Section 19.06 of the Texas Penal Code plainly states:

         This chapter does not apply to the death of an unborn child if the conduct charged
         is:

      (1) Conduct committed by a mother of the unborn child;




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                                                VI.

                         DEFENDANTS RAMIREZ AND BARRERA
                      ARE NOT ENTITLED TO ABSOLUTE IMMUNITY

6.1 Generally, prosecutors possess absolute immunity from civil liability, “[b]ut immunity is not

    automatic.” Wooten v. Roach, 964 F.3d 395, 407 (5th Cir. 2020). “[A] prosecutor’s

    administrative duties and those investigatory functions that do not relate to an advocate's

    preparation for the initiation of a prosecution or for judicial proceedings are not entitled to

    absolute immunity.” Buckley v. Fitzsimmons, 509 U.S. 259, 273, 113 S.Ct. 2606, 125 L.Ed.2d

    209 (1993) (citing Burns v. Reed, 500 U.S. 478 at 494-496, (quoting Imbler v. Pachtman, 424

    U.S. 409, 430-31, 96 S.Ct. 984, 47 L.Ed.2d 128 (1976)).

6.2 Prosecutors are absolutely immune only “for their conduct in ‘initiating a prosecution and in

    presenting the State's case’ insofar as that conduct is ‘intimately associated with the judicial

    phase of the criminal process.’” Burns, 500 U.S. 478 at 494-496, (quoting Imbler v. Pachtman,

    424 U.S. 409, 430-31, 96 S.Ct. 984, 47 L.Ed.2d 128 (1976)). Providing legal advice to the

    police is not a function “intimately associated with the judicial phase of the criminal process.”

    See Id. “In sum, prosecutors are not entitled to absolute immunity when ‘functioning as the

    equivalent of a detective rather than as an advocate preparing for trial.’” Wooten v. Roach, 964

    F.3d at 407. (quoting Cousin v. Small, 325 F.3d 627, 632–33 (5th Cir. 2003) (per curiam).

 6.3 Based upon information and belief, the Starr County Sheriff’s Department and the District

     Attorney’s Office coordinated in the investigation phase of the charges against the Plaintiff.

     Such investigatory actions by Defendants Barrera and Ramirez forfeit the protection of

     absolute prosecutorial immunity. See Burns, 500 U.S. at 482, 111 S.Ct. 1934.

 6.4 Additionally, an investigating law enforcement officer who lies to grand jury waives

     immunity. See Wilson v. Stroman, 33 F.4th 202 (5th Cir. 2022).



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 6.5 Section 19.06 of the Texas Penal Code exempts the death of an unborn child from the statute

     pertaining to murder “if the conduct charged is: (1) conduct committed by the mother of the

     unborn child.” Based upon information and belief, Defendants Ramirez and Barrera provided

     the grand jury with false and misleading information and omissions in order to secure an

     indictment against Plaintiff.

 6.6 As such, Defendants Ramirez and Barrera are not entitled to absolute immunity because they

     either submitted or directed the presentation of grand jury “evidence” blatantly lacking in

     legal basis as to render their belief in its existence unreasonable.

                                                 VII.

                                      CLAIMS FOR RELIEF

    A. 42 U.S.C. § 1983 Violations of Plaintiff’s Rights Guaranteed by the Fourteenth
       Amendment – Malicious Prosecution

  7.1 Plaintiff incorporates all preceding paragraphs by reference.

  7.2 Plaintiff asserts a violation of her Due Process rights under the Fourteenth Amendment to be

      free from unlawful indictment.

  7.3 The Due Process Clause of the Fourteenth Amendment was intended to prevent the

      government from abusing its power or employing it as an instrument of oppression. Plaintiff

      has rights guaranteed by the Fourteenth Amendment not to have law enforcement

      deliberately fabricate facts, evidence and the law. More specifically, Plaintiff has rights

      against intentional misrepresentations made to a grand jury that self-induced abortion is a

      criminal act in the State of Texas to secure an unlawful indictment.

  7.4 Based upon information and belief, Defendants Fuentes, Barrera and Ramirez, conspired to,

      and did, investigate and present false information, recklessly misrepresenting facts in order

      to pursue a bogus murder charge against Plaintiff for acts clearly not criminal under the Texas

      Penal Code.
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7.5 Based upon information and belief, Defendants Fuentes, Ramirez and Barrera conspired to,

    and did, mislead the grand jury by failing to provide the statutory language contained within

    Section 19.06 of the Texas Penal Code, in order to secure an illegal indictment in violation of

    Plaintiff’s constitutional protections.

  7.6 Based upon information and belief, policy, procedure, and practice in the Starr County

      District Attorney’s Office require that every decision in every high-profile case, including

      the investigation phase, must go through Defendant Ramirez. There is no doubt that the first

      ever murder charge for a self-induced abortion in Starr County, quite possibly the State of

      Texas, is considered high-profile, especially in light of the media attention surrounding the

      State’s abortion laws at the time of the events giving rise to Plaintiff’s causes of action.

  7.7 In his defense during his disciplinary proceedings Defendant Ramirez claimed not to be

      involved in the investigation or prosecution of this case. Defendant Ramirez acted as though

      he delegated authority to his co-conspirator Assistant District Attorney, Defendant Barrera.

      However, Defendant Ramirez did not, and does not, delegate his authority based on his

      policies, procedures, and practices.

  7.8 Furthermore, although he claimed he did not participate in the grand jury presentation of

      Plaintiff’s case, upon information and belief, Defendant Ramirez directed his co-conspirator,

      Assistant District Attorney Defendant Barrera, to provide false information to and conceal

      the plain statutory language contained within Texas Penal Code 19.06 from the grand jury.

      Defendant Barrera dutifully complied.

  7.9 By failing to provide the statutory language contained within Section 19.06 of the Texas

      Penal Code, District Attorney Ramirez himself, or through instruction to co-conspirator

      Defendant Barrera, knowingly provided false information to a grand jury to secure an unjust

      indictment and proceed with the malicious prosecution against Plaintiff.


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  7.10 As a result of her indictment and subsequent unlawful arrest for charges that Defendants

      maintained against her—long after they were aware that they lacked any legal or statutory

      basis to charge and arrest Plaintiff for Murder— Plaintiff was deprived of her fundamental

      rights to privacy and liberty. More specifically, Plaintiff was involuntarily and detrimentally

      thrust into the public eye, causing intrusion upon her seclusion or solitude and private affairs.

      Additionally, Plaintiff was placed in a false light which caused her to suffer reputational and

      actual harm that impinged upon her fundamental right to personal liberty.

  B. False Arrest in Violation of The Fourth and Fourteenth Amendments – Defendants
     Barrera and Ramirez

  7.11 Plaintiff incorporates the preceding paragraphs herein by reference.

  7.12 Plaintiff has a clearly established constitutional right under the Fourth Amendment to be

      secure in her person, home, and property against unreasonable seizure. U.S. Const. amend.

      IV (emphasis added). As the Supreme Court of the United States has plainly stated, “[w]here

      the standard is probable cause, a . . . seizure of a person must be supported by probable cause

      particularized with respect to that person.” Ybarra v. Illinois, 444 U.S. 85, 91 (1979).

  7.13 The Fourteenth Amendment also protects against the deprivation of liberty without due

      process of law.

  7.14 Plaintiff was falsely indicted, and arrested for murder, despite the plain and concise

      language of the statute excluding Plaintiff from criminal responsibility as a direct result of

      Defendants’ conduct. Defendants’ conduct, as set forth in detail above, deprived Plaintiff of

      her rights to be secure in her persons against unreasonable seizure, in violation of the Fourth

      Amendment of the Constitution of the United States and 42 U.S.C. Section 1983.

  7.15 Defendants Ramirez and Barrera, while acting under the color of law and within the scope

      of their employment, knowingly and intentionally, or with reckless disregard for the truth,



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      caused the presentation of a facially deficient indictment with no legal basis, resulting in a

      false arrest.

  7.16 Defendants Ramirez and Barrera deliberately or recklessly made knowing and intentional

      omissions that resulted in the indictment of Plaintiff and subsequent warrant for Plaintiff’s

      arrest.

  7.17 Defendants, jointly and severally, deprived Plaintiff of her rights under the Fourth

      Amendment as incorporated and applied to the states through the Fourteenth Amendment.

      Defendants also jointly and severally, deprived Plaintiff of due process in violation of the

      Fourteenth Amendment. Furthermore, Defendants Ramirez and Barrera conspired with

      coconspirators, known and unknown, to violate Plaintiff’s constitutional rights.

  7.18 Pursuant to 42 U.S.C. § 1983, every person who, under color of any statute, ordinance,

      regulation, custom or usage of any State, subjects, or causes to be subjected, any citizen of

      the United States to the deprivation of any rights, privileges, or immunities secured by the

      Constitution and laws, shall be liable to the parties injured in an action for redress. Each

      Defendant is a “person” within the meaning of 42 U.S.C. § 1983.

  7.19 As a direct result of Defendants’ conduct, Plaintiff was indicted for murder and falsely

      arrested, despite the unambiguous language of the penal code exempting her from a criminal

      act and absence of probable cause to establish that she had committed a crime. Defendants’

      conduct, as described above, deprived Plaintiff of her right to be secure in her persons against

      unreasonable seizure, in violation of the Fourth Amendment of the Constitution of the United

      States and 42 U.S.C. § 1983. As such, pursuant to 42 U.S.C. § 1983, Defendants Ramirez

      and Barrera shall be liable to Plaintiff for their unlawful actions.

  C. False Arrest in Violation of The Fourth and Fourteenth Amendments – Defendant
     Fuentes

  7.20 Plaintiff incorporates the preceding paragraphs herein by reference.

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  7.21 Plaintiff has a clearly established constitutional right under the Fourth Amendment to be

      secure in her person, home, and property against unreasonable seizure. U.S. Const. amend.

      IV (emphasis added). As the Supreme Court of the United States has plainly stated, “[w]here

      the standard is probable cause, a . . . seizure of a person must be supported by probable cause

      particularized with respect to that person.” Ybarra v. Illinois, 444 U.S. 85, 91 (1979).

  7.22 The Fourteenth Amendment also protects against the deprivation of liberty without due

      process of law.

  7.23 Defendant Fuentes arrested Plaintiff for murder, despite the plain and concise language of

      the statute excluding Plaintiff from criminal responsibility. Therefore, no probable cause

      existed for Plaintiff’s arrest. Defendants’ conduct, as set forth in detail above, deprived

      Plaintiff of her rights to be secure in her persons against unreasonable seizure, in violation of

      the Fourth Amendment of the Constitution of the United States and 42 U.S.C. Section 1983.

  7.24 Qualified immunity does not apply to the “plainly incompetent or those who knowingly

      violate the law.” Malley v. Briggs, 475 U.S. 335, 341 (Tex. 1986). “Defendants will not be

      immune if, on an objective basis, it is obvious that no reasonably competent officer would

      have concluded that a warrant should issue.” Id.

  7.25 Generally, a grand jury’s indictment breaks the chain of causation for any false arrest claims

      based on a defective affidavit and arrest warrant pursuant to the independent intermediary

      doctrine. Wilson v. Stroman, 33 F.4th 202, 208, (5th Cir. 2022). However, only a “properly

      secured . . . grand jury indictment will shield a defendant who has committed or initiated a

      false arrest.” Id. (citing Buehler v. City of Austin/Austin Police Dep’t, 824 F.3d 548, 553-54

      (5th Cir. 2016).

  7.26 Upon information and belief, the grand jury presentation suffered from a complete lack of

      additional investigation. Defendants Barrera, Ramirez and Fuentes conspired to, and misled,

      the grand jury.
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  7.27 Defendant Fuentes, while acting under the color of law and within the scope of his

      employment, knowingly and intentionally, or with reckless disregard for the truth, caused the

      arrest of Plaintiff based on a facially deficient indictment with no legal basis as Section 19.06

      of the Texas Penal Code is clear and unambiguous. Therefore, the grand jury indictment was

      not “properly secured” and it is obvious that no reasonably competent officer would have

      concluded that an arrest warrant as to Plaintiff should issue.

  7.28 As such, Defendant Fuentes deprived Plaintiff of her rights under the Fourth Amendment

      as incorporated and applied to the states through the Fourteenth Amendment. Defendant also

      deprived Plaintiff of due process in violation of the Fourteenth Amendment. Furthermore,

      based upon information and belief, Defendant Fuentes conspired with coconspirators, known

      and unknown, to violate Plaintiff’s constitutional rights.

  7.29 Pursuant to 42 U.S.C. § 1983, every person who, under color of any statute, ordinance,

      regulation, custom or usage of any State, subjects, or causes to be subjected, any citizen of

      the United States to the deprivation of any rights, privileges, or immunities secured by the

      Constitution and laws, shall be liable to the parties injured in an action for redress. Each

      Defendant is a “person” within the meaning of 42 U.S.C. § 1983.

  7.30 As a direct result of Defendants’ conduct, Plaintiff was falsely arrested for murder, despite

      the absence of probable cause to establish that her actions were in violation of the Texas

      Penal Code. Defendants’ conduct, as described above, deprived Plaintiff of her right to be

      secure in her persons against unreasonable seizure, in violation of the Fourth Amendment of

      the Constitution of the United States and 42 U.S.C. § 1983. As such, pursuant to 42 U.S.C.

      § 1983, Defendant Fuentes shall be liable to Plaintiff for such unlawful actions.

  D. Conspiracy To Violate Constitutional Rights

  7.31 Plaintiff incorporates the preceding paragraphs herein by reference.


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  7.32 Defendant Ramirez and his co-conspirators, Defendants Barrera and Fuentes, agreed to

      violate Starr County residents’, including Plaintiff’s, civil rights in violation of Section 1983,

      as detailed in the preceding causes of action.

  7.33 Specifically, Defendant Ramirez, and his co-conspirators, assistant district attorney

      Defendant Barrera and Defendant Fuentes, agreed to violate Starr County residents’

      (including Plaintiff’s) Fourth Amendment Rights to be free from unreasonable searches,

      seizures, and arrests but for warrants based on probable cause untainted by misleading and

      false information.

  7.34 Furthermore, Defendant Ramirez, and his co-conspirator, assistant district attorney

      Defendant Barrera, agreed to violate Starr County residents’ (including Plaintiff’s)

      Fourteenth Amendment Rights to Due Process by abusing his grand jury powers and

      presenting false and misleading information to the grand jury in order to secure indictments

      against citizens when probable cause did not exist.

  7.35 Defendants Ramirez and/or at least one of the co-conspirators knew the unlawful purpose

      of the agreement and joined in it willfully, that is, with the intent to further the unlawful

      purpose.

  7.36 Defendant Ramirez and/or at least one of the co-conspirators during the existence of the

      conspiracy knowingly committed at least one of the overt acts described in the counts above,

      in order to accomplish some object or purpose of the conspiracy.

  E. 42 U.S.C. § 1983 – County Liability

  7.37 Plaintiff incorporates the preceding paragraphs herein by reference.

  7.38 A county is liable under section 1983 for the acts of its officials when (1) its final
      policymakers are held effectively to have made policy or condoned creation of a custom by
      ratifying the unconstitutional or illegal actions of subordinate officers or employees; or (2)
      its final policymakers themselves engage in the setting of goals and the determination of how

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      those goals will be achieved. See Turner v. Upton Cnty., Tex., 915 F.2d 133, 136 (5th Cir.
      1990). Pembaur v. City of Cincinnati, 475 U.S. 469, 106 S.Ct. 1292, 89 L.Ed.2d 452 (1986).

  7.39 “When the official representing the ultimate repository of law enforcement power in the

      county makes a deliberate decision to abuse that power to the detriment of its citizens, county

      liability under section 1983 must attach . . . .” Turner. at 138.

  7.40 Starr County is liable under both formulations.

  7.41 Defendant Ramirez, as the final policy maker, “ratified the unconstitutional or illegal

      actions of subordinate officers and employees”, namely Defendant Barrera. Although he did

      not present the indictment to the Grand Jury, all decisions ran through Defendant Ramirez.

      Upon information and belief, he conspired and instructed co-conspirator Assistant District

      Attorney Defendant Barrera to mislead the grand jury.

  7.42 Defendant Ramirez also ordered the arrest of the Plaintiff, despite his knowledge that there

      was no legal basis to charge her with murder or any offense, and/or with deliberate

      indifference to the absence of such probable cause.

  7.43 Defendant Fuentes dutifully complied with the arrest warrant of the Plaintiff, despite his

      knowledge that there was no legal basis to charge her with murder or any offense, and/or

      with deliberate indifference to the absence of such probable cause.

  7.44 Based upon information and belief, the District Attorney’s Office and/or the Starr County

      Sheriff’s Office, along with the Starr County Memorial Hospital, initiated a policy to

      investigate women following an abortion for potential prosecution despite knowing that this

      was not criminal conduct.

  7.45 As such, Starr County is liable for the constitutional violations suffered by Plaintiff.




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                                                  VIII.

                                           DAMAGES

    8.1 Defendants’ actions, jointly and severally, deprived Plaintiff of her protected rights under

        the United States Constitution and federal law. As a proximate result of Defendants’

        actions, Plaintiff has suffered the deprivation of liberty, reputational harm, public

        humiliation, distress, pain, and suffering for which she is entitled to compensatory

        damages, including damages for mental and emotional distress.

    8.2 As a result of Defendants’ actions and/or inactions, Plaintiff seeks the following damages,

        which in the aggregate exceed $1,000,000.00:

        •   Actual damages;

        •   Compensatory damages;

        •   Past and future mental anguish;

        •   Past and future reputational damages;

        •   Past and future lost wages;

        •   Past and future loss of earning capacity;

        •   Attorney’s fees as set forth below;

        •   Exemplary damages; and

        •   All other damages, both general and special, at law and in equity, to which Plaintiff

            may be justly entitled.

                                                  IX.

                                      PUNITIVE DAMAGES

    9.1 Plaintiff incorporates the preceding paragraphs by reference.

    9.2 Punitive damages may be awarded in Section 1983 cases when the defendant’s conduct

         involves reckless or callous indifference to the federally protected rights of others. The
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         widespread and persistent practice of Defendants Starr County, Defendant District

         Attorney Gocha Allen Ramirez, Defendant Alexandria Lynn Barrera and Defendant Rene

         Fuentes to intentionally misrepresent evidence to a grand jury demonstrates a callous and

         reckless disregard to the constitutional rights of residents of Starr County, Texas.

    9.3 Defendants Ramirez, Barrera and Fuentes acted with malice and with intentional disregard

         for Plaintiff’s constitutional rights for which Plaintiff is entitled to punitive damages. Such

         damages would assist in deterring and preventing similar conduct in the future.

                                                  X.

                                       ATTORNEY’S FEES

    10.1 Plaintiff has retained the services of the undersigned counsel, and claims entitlement to

          an award of reasonable and necessary attorney's fees under 42 U.S.C. § 1983 and § 1988.

                                                  XI.

                                          JURY DEMAND

     11.1 Plaintiff hereby requests a jury trial tenders the appropriate jury fee herewith.

                                              PRAYER

        WHEREFORE PREMISES CONSIDERED, Plaintiff respectfully prays that Defendants

be cited to appear and answer herein, that upon the trial of this matter, judgment be entered for

Plaintiff against Defendants jointly and severally for the damages described above.




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                                                     Respectfully submitted,


                                                     By:________________________
                                                     I. Cecilia Garza
                                                     State Bar No. 24041627
                                                     Federal Admission No.: 578825
                                                     202 E. Sprague Street
                                                     Edinburg, Texas 78539
                                                     Telephone No.: 956/335-4900
                                                     Telecopier No.: 956/338-5700
                                                     cecilia@garzamartinezlaw.com
                                                     ATTORNEY         IN    CHARGE        FOR
                                                     PLAINTIFFS


OF COUNSEL:

Veronica Sepulveda Martinez
State Bar No. 24081144
Federal Admission No.: 3048499
202 E. Sprague Street
Edinburg, Texas 78539
Telephone No.: 956/335-4900
Telecopier No.: 956/338-5700
veronica@garzamartinezlaw.com

GARZA MARTINEZ, PLLC
202 E. Sprague Street
Edinburg, Texas 78539
Telephone No.: 956/335-4900
Telecopier No.: 956/338-5700
Email: office@garzamartinezlaw.com


                                CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of this amended complaint was served by

agreement and in accordance with the Federal Rules of Civil Procedure by electronic transmission

to all registered ECF users appearing in the case on April 11, 2024.



                                             ___________________________
                                             I. Cecilia Garza

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